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            EXHIBIT “A”
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK

           FLEETWOOD SERVICES, LLC
                                                                    Index No.
                                        Plaintiff,
                                                                    SUMMONS
           v.
                                                                    DATE FILED: March 18, 2020
           RAM CAPITAL FUNDING LLC, TSVI REICH
                                                                    Plaintiff designates New York County
           a/k/a STEVE REICH, RICHMOND CAPITAL
                                                                    as the place of trial
           GROUP LLC n/k/a RCG ADVANCES LLC and
           ROBERT GIARDINA                                          The basis of venue is the Defendants
                                                                    place of business
                                        Defendants
          To:
                 Ram Capital Funding, LLC                       Richmond Capital Group, LLC
                 111 John Street, Suite 1210,                   n/k/a RCG Advances
                 New York, New York 10038                       111 John Street, Suite 1210,
                                                                New York, New York 10038

                 Tsvi Reich a/k/a Steve Reich                   Robert Giardina
                 1 W. End Avenue, Apt. 27F                      158 Portage Avenue
                 New York, New York 10023                       Staten Island, New York 10314.

                  YOU ARE HEREBY SUMMONED to appear in this action by serving a notice of
          appearance on the Plaintiffs’ counsel at the address set forth below, and to do so within 20 days
          after the service of this summons, exclusive of the day of service (or within thirty (30) days if
          this summons is not personally delivered to you within the State of New York); and in case of
          your failure to appear, judgment will be taken against you by default for the relief demanded
          below.

          Dated: March 18, 2020                              WHITE AND WILLIAMS LLC
                 New York, New York

                                                             _____________________________
                                                             Shane R. Heskin, Esq.
                                                             7 Times Square,
                                                             New York, New York 10036-6524
                                                             (215) 864-6329
                                                             heskins@whiteandwilliams.com
                                                             Attorneys for Plaintiff Fleetwood Services LLC




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK


          FLEETWOOD SERVICES, LLC
                                           Plaintiff,          Index No.:

          v.                                                   COMPLAINT

          RAM CAPITAL FUNDING LLC, TSVI REICH
          a/k/a STEVE REICH, RICHMOND CAPITAL
          GROUP LLC n/k/a RCG ADVANCES LLC and
          ROBERT GIARDINA

                                           Defendants


                 Fleetwood Services, LLC (“Plaintiff” or “Fleetwood”) as and for its first Compliant

          against Ram Capital Funding, LLC (“Ram”), Tsvi Reich (“Reich”), Richmond Capital Group

          LLC n/k/a RCG Advances (“Richmond”) and Robert Giardina (“Giardina” and collectively, with

          Ram, Reich and Richmond, the “Defendants”), hereby alleges as follows:

                                            NATURE OF THE CASE

                 1.     This a RICO action to recover damages caused to a small Texas business by

          reason of the Defendants’ collection of a loan that charged interest in excess of 400% per annum

          which rate is more than ten times (10x) the rate permitted under the usury statutes of Texas and

          New York. To evade applicable usury statutes, the loan was disguised as a purchase and sale of

          future receivables agreement, but its terms and conditions and the Defendants’ actions in this

          case demonstrate that despite the agreement’s name, no sale of receivables took place and the

          agreement was intended to be, and was always treated as, a loan. Indeed, the New York

          Attorney General’s Office (“NY AG”) has launched an investigation into the predatory lending

          practices of merchant cash advance (“MCA”) companies such as Ram and Richmond and based




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          upon documents and emails, the NY AG has concluded that its evidence “strongly indicates,”

          that at least certain of the Defendants have engaged in the very fraudulent conduct alleged below.

                                                     PARTIES

                 2.      Fleetwood is a Texas limited liability company with a principal place of business

          at 4558 Steeple Chase Lane, Rockwall, Texas. Its members are individuals who are citizens of

          Texas and no member is a citizen of New York.

                 3.      Upon information and belief: (i) Ram is a New Jersey limited liability company

          with principal place of business located at 1006 Monmouth Ave., Lakewood, New Jersey; (ii)

          Ram is authorized to do business in New York; and (iii) Ram purportedly maintains an office for

          the regular transaction of business at 111 John Street, Suite 1210, New York, New York 10038.

                 4.      Tsvi Reich a/k/a Steve Reich is an individual residing at 1 W. End Avenue, Apt.

          27F, New York, New York 10023, and, upon information and belief, he is the founder, owner

          and managing member of Ram.

                 5.      Upon information and belief: (i) Richmond is a New York limited liability

          company; (ii) Richmond changed its name to RCG Advances LLC on or about May 5, 2019; and

          (iii) Richmond maintains its principal place of business at 111 John Street, Suite 1210, New

          York, New York 10038, the same address as Ram’s purported New York office.

                 6.      Upon information and belief, Richmond also operates under the d/b/a Ram

          Capital Funding.

                 7.      Robert Giardina is an individual residing at 158 Portage Avenue Staten Island,

          New York 10314. upon information and belief, Giardina is the founder, owner and managing

          member of Richmond, and, at various times, has held himself out to be an owner of Ram.




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                                           FACTUAL BACKGROUND

          A.     Ram and Richmond.

                 8.      Ram and Richmond are MCA companies that advance funds to small business

          merchants desperate for cash.

                 9.      Ram itself characterizes its transactions as “loans” and its merchant customers as

          “borrowers.”

                 10.     Although Ram purports on its website never to sell its loans and to be with its

          borrowers “every part of the way, from state to finish,” that is not the case. Through shared

          employees and purported assignment agreements, Ram and Richmond induce merchants to enter

          into agreements with Ram that are actually funded and serviced by Richmond.

                 11.     Indeed, in Ram Capital Funding LLC v. K & S Automotive Professionals LLC

          d/b/a Midas and Stephen S. Fincher, Supreme Court of the State of New York, Index No.

          034647/2016, and in at least five (5) other matters, Giardina swore, under penalty of perjury, that

          he was “a Managing Member of Plaintiff Ram Capital Funding, LLC” in order to obtain

          judgments against merchants who allegedly defaulted under their agreements with Ram.

                 12.     Another Richmond employee, Michelle Gregg (“Gregg”), also claimed to be a

          member of Ram in a sworn affidavit submitted in Ram Capital Funding LLC v. K.S. Printing

          DBA Print Plus and Chad and Kimberly Choina, Supreme Court of the State of New York,

          Niagara County, Index No. E161332/2017, and in more than thirty (30) other matters, she

          claimed to be an authorized representative of Ram in order to secure judgments.

                 13.     As further evidence of their relationship, Ram and Richmond purportedly share

          the same New York office address, Richmond operates under the d/b/a “Ram Capital Funding”




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          and employees such Gregg communicate with Ram’s merchants, including Plaintiff, with email

          addresses at “ramcapitalfunding.com.”

                 14.     Sometime in 2018, the NY AG launched an investigation (the “Investigation”)

          into the allegedly predatory lending tactics of MCA companies such as Ram and Richmond.

                 15.     In connection with the Investigation, the NY AG served subpoenas upon various

          entities, including Richmond, and sought to depose Giardina, Gregg and other Richmond

          personnel.

                 16.     Thereafter, Giardina and Gregg commenced an Article 78 proceeding entitled

          Robert Giardina and Michelle Gregg v. Letitia James, Attorney General of the State of New

          York, Supreme Court of the State New York; County of New York, Index No. 16209/2019 (the

          “Article 78 Proceeding”), and sought to stay their depositions pending resolution of alleged

          federal and state criminal investigations into their activities as officers of Richmond.

                 17.     The relief sought in the Article 78 Proceeding was denied and, on appeal, the NY

          AG represented to the Appellate Division, First Department, that the documents and emails it

          had obtained so far “strongly indicate[]” that Richmond and its personnel were engaged in

          fraudulent and illegal conduct, including:

                        Engaging in usury by loaning money to merchants at annual interest rates
                         in the triple digits, well above the maximum legal rate under New York
                         law, under the guise of “merchant cash advances,” which were purportedly
                         purchases of merchants’ future “receivables,” but which (like an ultra-
                         high-interest, short-term loan) required merchants to make daily payments
                         to Richmond in fixed amounts.

                        Engaging in fraud by, inter alia, providing merchant cash advances in
                         smaller than agreed to amounts and charging higher than agreed fees, . . . ,
                         and by continuing to debit a merchant’s account after the merchant’s
                         advance was repaid.

                 18.     Fleetwood is a victim of this fraudulent scheme.




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          C.      Fleetwood’s Business.

                  19.        Plaintiff Fleetwood is a small business, providing golf course construction,

          development, renovation and remodeling for courses and country clubs in and around the Dallas

          area.

                  20.        As is typical in the industry, Fleetwood invoices its clients for the services it

          performs on terms payable in 30, 60 or 90 days. Thus, there is a substantial lag between the time

          Fleetwood generates an invoice and the time it actually gets paid.

                  21.        At times, the lag in payment creates cash flow issues for the company.

                  22.        In November 2016, Fleetwood was experiencing such cash-flow issues when it

          was contacted by a broker offering financing through Ram.

          D.      Fleetwood enters Agreement with Ram; but the deal is funded by Richmond.

                  23.        On or about November 28, 2016, Ram and Fleetwood entered into a so-called

          purchase and sale of receivables agreement (the “Agreement”) pursuant to which Ram agreed to

          advance Fleetwood $100,000 (the “Purchase Price”) in exchange for the purported purchase of

          all of Fleetwood’s future receipts (the “Future Receipts”) until such time as Fleetwood had

          repaid Ram the sum of $149,900 (the “Purchased Amount”).

                  24.        The Purchased Amount was to be repaid through daily ACH withdrawals from a

          designated account (the “Account”), each in the equal amount of $1,399.00 (a “Daily Payment”).

                  25.        Ram, however, did not fund the full Purchase Price. Indeed, Ram did not fund

          anything at all.

                  26.        Instead, Richmond funded just half the Purchase Price ($50,000), via a wire into

          the Account from a Richmond account at Empire State Bank, and immediately began

          withdrawing the Daily Payments.




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                   27.   By email on or about December 8, 2016, Fleetwood contacted the broker to

          request payment of the missing $50,000, but instead was offered a second $50,000 receivables

          purchase agreement.

                   28.   When Fleetwood rejected the offer and demanded to speak with Reich, by email

          dated December 9, 2016, the broker advised that Reich “won’t release [the funds] til the New

          Year.”

                   29.   In other words, Reich and Ram and/or Richmond refused to advance the full

          Purchase Price until Fleetwood had made at least the 23 payments required in December 2016

          which equates to $32,177 or more than 60% of the unpaid $50,000 Purchased Amount. In effect,

          Reich and Ram were requiring Fleetwood to fund its own advance.

                   30.   Neither Ram nor Richmond ever advanced the additional $50,000 required by the

          Agreement.

                   31.   The Defendants’ failure to advance the full $100,000 to Fleetwood caused further

          cash flow problems for the company.

                   32.   By email dated March 17, 2017 to Ram at accounting@ramcapitalfunding.com.

          Fleetwood requested a brief pause in its Daily Payments because it had not yet received expected

          payments on certain invoices and it was running low on funds.

                   33.   Emphatically, Michelle Gregg, purportedly then an Accounting Director of Ram,

          immediately responded: “UNFORTUNATELY . . . WE DO NOT OFFER “BREAKS”. DOING

          THAT WOULD PUT YOU IN AUTOMATIC DEFAULT.”

                   34.   After they refused to reduce Fleetwood’s payment obligations in light of the

          slowdown in collections, the Defendants continued to debit Daily Payments from the Account.




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          Since Ram had only provided half the Purchase Price, it was only entitled to collect half the

          Purchased Amount or $74,950.

                 35.     In other words, pursuant to the express terms of the Agreement, by paying only

          $50,000, the Purchased Amount of receipts was only $74,950.

                 36.     Notwithstanding the clear terms of the Agreement and the Defendants’ failure to

          advance the full Purchase Price, a total of $119,617 was debited from Fleetwood’s Account or

          $44,667 (the “Excess Funds”) more than Ram and/or Richmond was entitled to debit from the

          Account.

                 37.     By letter dated April 28, 2017, by and through its attorneys, Fleetwood demanded

          repayment of the Excess Funds.

                 38.     To date, Ram and Richmond have failed and refused to return the Excess Funds.

          B.     The Agreement was not a sale of future receivables.

                 39.     Notwithstanding its title, the Agreement was not the sale/purchase of receivables.

          Plain and simple, it was a loan.

                 40.     The Agreement had none of indicia of a true sale and all the indicia of a loan.

          Among other things: (i) the Agreement required that the Purchased Amount be repaid from funds

          other than the purchased Receipts; (ii) the terms of the Agreement failed to transfer the risk and

          benefits of ownership of the Future Receipts from Fleetwood to Ram, (iii) Fleetwood remained

          absolutely liable for repayment of the Purchased Amount; (iv) Ram had full recourse rights

          against Fleetwood and its owner and (v) the Daily Payments were fixed and required payment

          within the specific time period chosen by Ram.




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                 i.      The Agreement required Daily Payments from funds other than proceeds of
                         the purchased Receipts.

                 41.     In a typical sale of receivables, the buyer is repaid through the collections of the

          purchased receivables. Such was not the case here.

                 42.     Pursuant to the Agreement, Ram purportedly purchased all of Fleetwood’s future

          Receipts, but required repayment of the Purchased Amount through Daily Payments that

          purportedly represented the Specified Percentage of each sale of Fleetwood’s goods and services

          (a “Transaction”) regardless of whether such sale related in any way to a purchased Receipt.

                 43.     As the Defendants were well aware, Fleetwood provided golf course restoration

          and other related services to its clients, invoiced its clients on terms of 30, 60 or 90 days and

          typically did not receive payment for its invoices until then or later.

                 44.     Thus, a purchased future receivable, at the earliest, would not typically be paid for

          30, 60 or 90 days until after it was generated by Fleetwood.

                 45.     Nevertheless, per the Agreement, Fleetwood was obligated to begin repaying Ram

          immediately, forcing Fleetwood to make the Daily Payments with the collections of past

          receivables or other sources that were not purchased by Ram under the Agreement including the

          proceeds.

                 46.     Such a requirement demonstrates the Agreement does not constitute a sale.

                 ii.     The terms of the Agreement failed to transfer the risk and benefits of
                         ownership of the Future Receipts from Fleetwood to Ram.

                 47.     The sine qua non of any sale is that absolute title and ownership of the allegedly

          purchased good transfer from the seller to the buyer. That did not occur in the instant case.

                 48.     Here, Fleetwood was responsible for generating and collecting the Future

          Receipts, it exercised complete dominion and control over the Future Receipts and it retained the




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          risk of non-collectability with respect to the Future Receipts. In other words, notwithstanding

          the assignment language of the Agreement, all of the benefits and risks of ownership of the

          Receipts remained with Fleetwood.

                 49.     Pursuant to the Agreement, Fleetwood was responsible for collecting the proceeds

          of its Transactions and depositing the Specified Percentage of each Transaction into the

          designated Account so that Ram could debit the Daily Payment.

                 50.     So long as it made the Daily Payments, Fleetwood was free to use the remaining

          proceeds of any Transaction, including the proceeds of a supposedly purchased Future Receipt,

          in its daily operations. Indeed, the excess proceeds were Fleetwood’s only source of revenue

          because the Agreement specifically prohibited Fleetwood from further encumbering the future

          Receipts. Thus, Fleetwood had to use the proceeds of the allegedly purchased Future Receipts in

          order to operate its business.

                 51.     Fleetwood’s complete dominion and control over the Future Receipts and its right

          to use the proceeds of the alleged purchased Future Receipts are entirely inconsistent with a sale

          because such control and rights are the benefits of ownership that would pass to the seller if the

          Agreement were a true sale.

                 52.     Similarly, Fleetwood retained the risk of loss associated with non-payment of the

          Future Receipts. Among other things, Fleetwood was obligated to perform all due diligence with

          respect to its customers and if a particular Future Receipt was not collectible, there was no

          reduction in the Purchased Amount and Ram would be repaid from the next collected Future

          Receipt or the proceeds of any other Transaction.




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                 iii.   Fleetwood remained absolutely liable for repayment of the Purchased
                        Amount.

                 53.    By operation of the Agreement’s default rights and remedies, repayment of the

          Purchased Amount was put beyond any risk of non-payment and Fleetwood remained absolutely

          liable for repayment of the Purchased Amount.

                 54.    Under the Agreement, if an Event of Default occurred, the Plaintiffs immediately

          became liable for the full outstanding Purchased Amount, together with additional fees and costs

          due under the Agreement.

                 55.    An Event of Default is defined under the Agreement so that a default would occur

          under any and every conceivable circumstance wherein Fleetwood failed to generate or collect

          Future Receipts to repay Ram.

                 56.    Most importantly, the failure of Fleetwood to generate and collect sufficient

          revenue to make the Daily Payments would automatically constitute an Event of Default under

          the Agreement after just four days of having insufficient funds (“NSF”) in the Account:

                 NSF Fee - $75.00 (each) – Up to FOUR TIMES ONLY before a default is
                 declared.

                 57.    Fleetwood also defaulted under the Agreement if it (i) violated any term of the

          agreement, (ii) became insolvent or filed for bankruptcy, (iii) transferred or otherwise sold its

          assets, or (iv) moved, terminated, interrupted or suspended its business in any way. Accordingly,

          even if Fleetwood’s business were destroyed or suspended by a hurricane, flood, fire, a pandemic

          or other Act of God, it would be in default of the Agreement and, pursuant to the remedies

          provided by the Agreement, Plaintiff and its owner would be liable for the full outstanding

          balance of Purchased Amount, plus all fees and costs due under the Agreement.




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                 iv.     Ram retained full recourse rights against Fleetwood.

                 58.     In order to further ensure its performance under the Agreement, Fleetwood

          granted Ram a security interest in substantially all of its assets (the “Collateral”).

                 59.     Upon an Event of Default, Ram and/or Richmond was entitled to exercise all of

          its rights and remedies under the UCC.

                 60.     Thus, if Fleetwood missed as few as four Daily Payments, Ram and/or Richmond

          could foreclose on the Collateral.

                 61.     Additionally, Pamela Fleetwood, as owner of Fleetwood, was obligated to

          guaranty Fleetwood’s performance of certain obligations under the Agreement including,

          without limitation, the obligation to ensure that Fleetwood had sufficient funds in the Account to

          make the Daily Payments.

                 62.     Such recourse provisions are not indicative of a true sale, but rather, a loan.

                 v.      The Daily Payments were fixed and resulted in a usurious interest rate.

                 63.     On the face of the Agreement, Fleetwood was required to repay the Purchased

          Amount through 107 daily ACH debits from the Account, each in the equal amount of

          $1,399.00.

                 64.     The Daily Payment was supposed to equal ten percent (10%) of Fleetwood’s

          average daily Receipts, but this definition was purely fictional because, as the Defendants were

          well aware, Fleetwood did not generate Receipts on a daily basis.

                 65.     Instead, the specified percentage was purely arbitrary and the amount of the Daily

          Payment was determined purely by how quickly Ram and/or Richmond wanted to be repaid.

                 66.     Indeed, regardless of whether it collected any Receipts on a given day, Fleetwood

          was “responsible for ensuring” that Daily Payments were in the Account.




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                 67.      Although the Agreement contained a reconciliation provision, it was illusory.

          Pursuant to the Agreement, “on the eighteen day of each month,” Ram would supposedly

          reconcile the amount it actually collected against Fleetwood’s actual receipts and credit

          Fleetwood if it collected more than 10% of Fleetwood’s collections for the preceding month.

                 68.      Upon information and belief, neither Ram nor Richmond ever reconciled

          Fleetwood’s accounts.

                 69.      The Agreement also provided that Ram, “may upon Merchant’s request, adjust

          the amount of any payment due under this Agreement at [Ram’s] sole discretion and as it deems

          appropriate.”

                 70.      However, when Fleetwood actually requested a reduction, Gregg emphatically

          answered that “WE DO NOT OFFER ‘BREAKS”.

                 71.      In other words, just like any other loan, Fleetwood was absolutely liable to make

          the Daily Payments.

                 72.      Further, on its face, the Agreement charged usurious interest. According to the

          terms of the Agreement, Ram and/or Richmond expected repayment of the $100,000 principal

          plus $49,000 interest in 22 weeks which translates into an annual interest rate of 116%.

                 73.      The actual interest rate is far greater because Ram and/or Richmond only

          advanced $50,000 but collected an additional $69,617.00 in 18 weeks which translates into an

          annual interest of greater than 400%, an amount far in excess of that permitted under either

          Texas or New York law.




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                                                   FIRST COUNT

                                   (Breach of contract/Duty of Good Faith)
                 74.     Fleetwood repeats and re-alleges the allegations contained in paragraphs 1

          through 73 as if more fully set forth herein.

                 75.     As a party to the Agreement, Ram and Richmond had a duty to act in good faith

          and fair dealing with the Fleetwood.

                 76.     Ram and Richmond, without any fault on the part of Fleetwood, failed and

          refused to act in good faith, with honesty and integrity to perform under the Agreement.

                 77.     Notwithstanding the clear terms of the Agreement, Fleetwood was only provided

          a Purchased Price of $50,000 by Ram and/or Richmond, an amount equal to only half of the

          $100,000 Purchase Price set forth in the Agreement.

                 78.     By providing only half the Purchase Price, Ram and/or Richmond was entitled to

          debit no more than half the Purchased Amount or $74,950, from the Account.

                 79.     However, Ram and/or Richmond debited a total of $119,617 from the Account.

                 80.     By failing to provide Ram and/or Richmond with the full Purchase Price, but

          debiting the Account as if the full Purchase Price had been paid, Ram and/or Richmond breached

          their duties under Agreement with Fleetwood and obtained the Excess Funds.

                 81.     By reason of the foregoing, Fleetwood is entitled to an award of damages in the

          amount of $44,667.

                                                  SECOND COUNT

                                             (Money Had and Received)
                                                (In the alternative)

                 82.     Fleetwood repeats and re-alleges the allegations contained in paragraphs 1

          through 81 as if more fully set forth herein.




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                 83.     By continuing to debit the Account after it had received sufficient funds to repay

          the Receipts actually purchased under the Merchant Agreement, Rama and/or Richmond

          received money belonging to Fleetwood to which it has no right to keep.

                 84.     Despite demand, Ram and/or Richmond has failed and refused to reimburse

          Fleetwood for the Excess Funds. Meanwhile, it has benefitted from the use of the Excess Funds.

                 85.     Under principles of equity and good conscience, Ram and/or Richmond should be

          not permitted to keep the Excess Funds.

                 86.     By reason of the foregoing, Fleetwood is entitled to an award of damages in the

          amount of $44,667.

                                                   THIRD COUNT

                                                (Texas Usury Statute)

                 87.     Fleetwood repeats and re-alleges the allegations contained in paragraphs 1

          through 86 as if more fully set forth herein.

                 88.     Tex. Fin. Code §305.001(a-1) and §305.003 each provide that a creditor who

          contracts for, charges, or receives interest greater than the legal maximum is liable to the

          obligor for an amount that is equal to three times the difference between the maximum

          allowable legal interest and the total amount of interest charged.

                 89.     The maximum interest rate allowed under Tex. Fin. Code §303.009(c) is 28%.

                 90.     The Agreement charged interest that was twice the maximum 28% permitted by

          Texas law and also the 25% permitted by New York law.

                 91.     Fleetwood did, in fact, pay interest to Ram and/or Richmond in excess of 28%.

                 92.     With respect to Agreement, the most that Ram and/or Richmond could have

          charged in interest was $4,946.16.




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                 93.     Ram and/or Richmond did, in fact, charge and collect interest of $69,617.00

          which translates into an effective interest rate in excess of 400% during the 18 week period in

          which Ram and/or Richmond debited funds from the Account.

                 94.     The difference between the actual interest collected ($69,617.00) and the

          permitted interest ($4,946.16) is $64,770.84 (the “Usurious Interest”).

                 95.     By letter dated September 27, 2019, Fleetwood demanded that Ram and/or

          Richmond return the Usurious Interest, but Ram and/or Richmond have failed and refused to do

          so.

                 96.     By reason of forgoing, pursuant to Tex. Fin. Code §305.001(a), Fleetwood is

          entitled to statutory damages equal to three times the Usurious Interest which amount equals

          $194,312.52.

                 97.     In addition, Tex. Fin. Code § 305.004(a) provides that: “In addition to the

          amount determined under Section 305.003, a creditor who charges and receives legal interest

          that is greater than twice the amount authorized by this subtitle is liable to the obligor for:

                 (1)     the principal amount on which the interest is charged and received; and

                 (2)     the interest and all other amounts charged and received.

                 98.     The Agreement charged interest in excess of 400% which is far more the twice

          the amount permitted under Texas law.

                 99.     Accordingly, Fleetwood is also entitled to a return of all principal ($50,000) and

          legal interest ($4,846) charged by Ram and/or Richmond which amount equals $54,846.

                 100.    With respect to Fleetwood alone, in addition to the $194,312.52 required under

          Tex. Fin. Code §305.001(a), Fleetwood is also entitled to $54,846 in total principal, fees and

          interest charged by Defendants.




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                      101.   By reason of the foregoing violations, Fleetwood is entitled to recover against

          Ram and/or Richmond an amount to be determined at trial but, in any event, not less than

          $249,158.52.

                                                   FOURTH COUNT

                                         (Attorney’s Fees/Texas Usury Statute)

                      102.   Fleetwood repeats and re-alleges the allegations contained in paragraphs 1

          through 101 as if more fully set forth herein

                      103.   Fleetwood has incurred, and will in the future continue to incur reasonable

          attorney fees as a result of Ram’s violations of Tex. Fin. Code §§ 305.001 and 305.003.

                      104.   Pursuant to Tex. Fin. Code. §305.005, “[a] creditor who is liable under Section

          305.001 or 305.003 is also liable to the obligor for reasonable attorney’s fees set by the

          court.”

                      105.   By reason of the foregoing, Fleetwood is entitled to recover from Ram and/or

          Richmond reasonable attorneys’ fees incurred and to be incurred in an amount to be determined

          at trial.

                                                     FIFTH COUNT

                                              (RICO: 18 U.S.C. § 1962(c))

                      106.   Fleetwood repeats and re-alleges the allegations contained in paragraphs 1

          through 105 as if more fully set forth herein.

          A.          Culpable Person

                      107.   Ram, Richmond, Reich and Giardina are “persons” within the meaning of 18

          U.S.C. § 1961(3) and 18 U.S.C. § 1962(c) in that each is either an individual, corporation or

          limited liability company capable of holding a legal interest in property.




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                 108.    At all relevant times, each of Ram, Richmond, Reich and Giardina was and is, a

          person that exists separate and distinct from the RICO enterprise, described below.

                 109.    Ram is a limited liability company organized and existing under the laws of the

          State of New Jersey.

                 110.    Upon information and belief, Reich is the owner, managing member and de facto

          chief executive officer of Ram.

                 111.    Ram solicits, underwrites, funds, services and collects upon lawful debt incurred

          by small businesses in states that do not have usury laws.

                 112.    Richmond is a limited liability company organized and existing under the laws

          of the State of New York.

                 113.    Upon information and belief, Giardina is the owner, managing member and de

          facto chief executive officer of Richmond.

                 114.    Richmond solicits, underwrites, funds, services and collects upon lawful debt

          incurred by small business in states that do not have usury laws.

          B.     The Enterprise

                 115.    Ram, Richmond, Reich and Giardina constitute an association-in-fact enterprise

          (the “Enterprise”) within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c).

                 116.    Ram, Richmond, Reich and Giardina are a group of persons that are associated-in-

          fact for the common purpose of carrying on an ongoing unlawful enterprise. Specifically, the

          Enterprise has a common goal of soliciting, funding, servicing and collecting upon usurious

          loans that charge interest at more than twice the enforceable rate under the laws of Texas, New

          York and other states.




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                   117.      Upon information and belief, since at least 2016 and continuing through the

          present, the members of the Enterprise have had ongoing relations with each other through

          shared        personnel,   shared   offices   in   New    York,   a   common      email   address

          (@ramcapitalfunding.com), and/or one or more contracts or agreements relating to and for the

          purpose of originating, underwriting, servicing and collecting upon unlawful debt issued by the

          Enterprise to small businesses throughout the United States, including Fleetwood.

                   118.      The debt, including such debt evidence by the Agreement, constitutes unlawful

          debt within the meaning of 18 U.S.C. § 1962(c) and (d) because (i) it violates applicable criminal

          usury statutes and (ii) the rates are more than twice the legal rate. Here, the annualized rate

          charged to Fleetwood exceeded 300%, a rate that is more than ten times (10x) the maximum

          twenty-eight percent that is permitted to be charged under Tex. Fin. Code §303.009(c) and the

          maximum twenty-five percent (25%) that is permitted to be charged under New York Penal Law

          §190.40.

          C.       Each Member’s Role in the Enterprise

                   119.      The Enterprise has organized itself into a cohesive group with specific and

          assigned responsibilities and a command structure to operate as a unit in order to accomplish the

          common goals and purposes of collecting upon unlawful debts. Generally speaking, Reich and

          Ram solicit the merchants, underwrite the transactions and enter into the merchant agreements

          while Giadina and Richmond fund and collect the proceeds of the usurious loans.             More

          specifically:

                   i.        Reich

                   120.      Upon information and belief, Reich is the founder, owner, chief underwriter and

          chief executive officer of Ram. Upon information and belief, Reich, together with Giardina, is




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          responsible for the day-to-day operations of the Enterprise and has final say on all business

          decisions of the Enterprise including, without limitation, which usurious loans the Enterprise will

          fund, how such loans will be funded, and the ultimate payment terms, amount and period of each

          usurious loan, including the Agreement.

                 121.    Upon and information and belief, in his capacity as the day-to-day leader of the

          Enterprise, Reich, together with Giardina, is responsible for creating, approving and

          implementing the policies, practices and instrumentalities used by the Enterprise to accomplish

          its common goals and purposes including: (i) the merchants to whom the Enterprise will lend

          funds; (ii) the form of merchant agreements used by the Enterprise to attempt to disguise the

          unlawful loans as receivable purchase agreements to avoid applicable usury laws and conceal the

          Enterprise’s collection of an unlawful debt; (iii) the amount and repayment period of the usurious

          loans extended by the Enterprise to merchants; and (iii) the method of collecting the daily

          payments via ACH withdrawals. All such forms were used to make and collect upon the

          unlawful loans including, without limitation, the loan extended to Fleetwood under the

          Agreement.

                 122.    Reich has also taken actions and, directed other members of the Enterprise to take

          actions necessary to accomplish the overall goals and purposes of the Enterprise including

          directing members of the Enterprise to make loans to merchants, to fund only certain amounts of

          those loans and to collect upon the unlawful loans.

                 123.    Through salary, bonuses, profits or other distributions by Ram, Reich has

          ultimately benefited from the Enterprise’s funneling of a portion or all of the usurious loan

          proceeds to Ram.




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                 ii.     Ram

                 124.    Directly and through Reich and its other agent employees, Ram has been and

          continues to be responsible for: (i) entering into contracts with brokers to solicit borrowers for

          the Enterprise’s usurious loans and participation agreements with investors to fund the usurious

          loans; (ii) underwriting the usurious loans and determining the ultimate rate of usurious interest

          to be charged under each loan; (iii) entering into the so-called merchant agreements on behalf of

          the Enterprise; (iv) setting up the ACH withdrawals used by the Enterprise to collect upon the

          unlawful debt; and (v) obtaining judgments in its name to further collect upon the unlawful debt

          when a merchant defaults.

                 125.    In this case, Ram: (i) entered into a contract with a broker to solicit borrowers,

          including Fleetwood; (iii) underwrote the Agreement; (iv) entered into the Agreement; (v)

          solicited the information needed to collect upon the unlawful debt evidenced by the Agreement

          by effecting daily ACH withdrawals from Fleetwood’s Account; (vi) sent payoff letters that

          assisted in the collection of the unlawful debt; and (vi) failed and refused to return the usurious

          interest charged and collected under the Agreement.

                 126.    Upon information and belief, Ram ultimately benefits from the Enterprise’s

          unlawful activity by receiving a fee paid from the proceeds of the unlawful debt collected by

          Enterprise.

                 iii.    Giardina

                 127.     Upon information and belief, Giardina is the founder and sole owner of

          Richmond and an officer within the company. Upon information and belief, Giardina, together

          with Reich, is responsible for the day-to-day operations of the Enterprise and has final say on all

          business decisions of the Enterprise including, without limitation, which usurious loans the




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          Enterprise will fund, how such loans will be funded, and the ultimate payment terms, amount and

          period of each usurious loan, including the Agreement.

                 128.    Upon and information and belief, in his capacity as the day-to-day leader of the

          Enterprise, Giardina is responsible for creating, approving and implementing the policies,

          practices and instrumentalities used by the Enterprise to accomplish its common goals and

          purposes including: (i) the form of merchant agreements used by the Enterprise to attempt to

          disguise the unlawful loans as receivable purchase agreements to avoid applicable usury laws

          and conceal the Enterprise’s collection of an unlawful debt; (ii) the amount and repayment period

          of the usurious loans extend by the Enterprise to merchants; and (iii) the method of collecting the

          daily payments via ACH withdrawals. All such forms were used to make and collect upon the

          unlawful loans including, without limitation, the loan extended to Fleetwood under the

          Agreement.

                 129.    Giardina has also taken actions and, directed other members of the Enterprise to

          take actions necessary to accomplish the overall goals and purposes of the Enterprise including

          directing members of the Enterprise to make loans to merchants, to fund only certain amounts of

          those loans and to collect upon the unlawful loans.

                 130.    Through salary, bonuses, profits or other distributions by Richmond, Reich has

          ultimately benefited from the Enterprise’s funneling of a portion or all of the usurious loan

          proceeds to Richmond.

                 iv.     Richmond

                 131.    Directly and through Giardina and its other agent employees, Richmond has been

          and continues to be responsible for: (i) funding the usurious loans entered into by the Enterprise;

          (ii) serving the usurious loans and (iii) collecting upon the unlawful debt.




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                 132.    In this case, Richmond: (i) funded the amounts advanced to Fleetwood under the

          Agreement by a wire transfer dated November 29, 2016 from its account at Empire State Bank;

          (ii) communicated with Fleetwood concerning the loan through email addresses and signature

          lines that made it appear Fleetwood was dealing with Ram; and (iii) collected the Daily

          Payments through the ACH withdrawals from Fleetwood’s designated Account into Richmond’s

          account at Empire State Bank.

                 133.    Upon information and belief, Richmond ultimately benefits from the Enterprise’s

          unlawful activity by receiving all or a portion of the proceeds from the unlawful debt.

          C.     Interstate Commerce

                 134.    The Enterprise is engaged in interstate commerce and uses instrumentalities of

          interstate commerce in its daily business activities.

                 135.    Specifically, members of the Enterprise maintain offices in New Jersey and New

          York and use personnel in these offices to originate, underwrite, fund, service and collect upon

          the usurious loans made by the Enterprise to entities in Texas, including the Plaintiff, and

          throughout the United States via extensive use of interstate emails, mail, wire transfers and bank

          withdrawals processed through an automated clearing house.

                 136.    In the present case, all communications between the members of the Enterprise

          and Plaintiffs were by interstate email and mail, wire transfers or ACH debits and other interstate

          wire communications. Specifically, the Enterprise used interstate emails to originate, underwrite,

          service and collect upon the Agreement, fund the advance under the Agreement and collect the

          Daily Payments via interstate electronic ACH debits. In addition, at the direction of Ram, the

          Agreement was executed by Pamela A. Fleetwood, on behalf of Fleetwood and individually as




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          guarantor, and the original copy of the Agreement was sent from Texas to Ram at its offices in

          New Jersey via Federal Express using labels prepared by Ram.

          D.     Injury and Causation

                 137.    The Plaintiff has and will continue to be injured in their business and property by

          reason of the Defendants’ violations of 18 U.S.C. § 1962(c), in an amount to be determined at

          trial. The injuries to the Plaintiff directly, proximately, and reasonably foreseeably resulting

          from or caused by these violations of 18 U.S.C. § 1962(c) include, but are not limited to, the tens

          of thousands of dollars paid to the Defendants by the Plaintiff or otherwise collected by the

          Defendants on account of the usurious and otherwise unenforceable Agreement and attorneys’

          fees and costs, including the attorneys’ fees and costs associated with exposing and prosecuting

          the Defendants’ unlawful activities.

                 138.    Pursuant to 18 U.S.C. § 1964(c), the Plaintiff is entitled to treble damages, plus

          costs and attorneys’ fees from the Defendants.

                                                  SIXTH COUNT

                                      (Conspiracy under 18 U.S.C. § 1962(d))

                 139.    Fleetwood repeats and re-alleges the allegations contained in paragraphs 1

          through 138 as if more fully set forth herein

                 140.    The Defendants have unlawfully, knowingly, and willfully, combined, conspired,

          confederated, and agreed together to violate 18 U.S.C. § 1962(c) as describe above, in violation

          of 18 U.S.C. § 1962(d).

                 141.    By and through each of the Defendants’ business relationships with one another,

          including shared employees and services, their close coordination with one another in the affairs

          of the Enterprise, and frequent email communications among the Defendants concerning the




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          underwriting, funding, servicing and collection of the unlawful loans, including the Agreements,

          each Defendant knew the nature of the Enterprise and each Defendant knew that the Enterprise

          extended beyond each Defendant’s individual role. Moreover, through the same connections and

          coordination, each Defendant knew that the other Defendants were engaged in a conspiracy to

          collect upon unlawful debts in violation of 18 U.S.C. § 1962(c).

                 142.    Each Defendant agreed to facilitate, conduct, and participate in the conduct,

          management, or operation of the Enterprise’s affairs in order to collect upon unlawful debts,

          including the Agreements, in violation of 18 U.S.C. § 1962(c). In particular, each Defendant

          was a knowing, willing, and active participant in the Enterprise and its affairs, and each of the

          Defendants shared a common purpose, namely, the orchestration, planning, preparation, and

          execution of the scheme to solicit, underwrite, fund and collect upon unlawful debts, including

          the Agreement.

                 143.    More particular to this case Ram underwrote and entered into the Agreement, but

          Richmond      funded   and   collected   upon   loan    by:   (i)   using   email   addresses   at

          “ramcapitalfunding.com,” representatives of Richmond serviced the loan; and (iii) using its

          letterhead, Ram directed that Fleetwood make payments under the loan to Richmond’s account at

          Empire State Bank.

                 144.    The participation and agreement of each of Defendant was necessary to allow the

          commission of this scheme.

                 145.    Plaintiffs have been and will continue to be injured in their business and property

          by reason of the Defendants’ violations of 18 U.S.C. § 1962(d), in an amount to be determined at

          trial. The injuries to the Plaintiffs directly, proximately, and reasonably foreseeably resulting

          from or cause these violations of 18 U.S.C. § 1962(d) include, but are not limited to, tens of




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          thousands of dollars in improperly collected loan payments and attorneys’ fees and costs,

          including attorneys’ fees and costs associated with exposing and prosecuting the RICO

          Defendants’ criminal activities.

                  146.     Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to treble damages, plus

          costs and attorneys’ fees from the Defendants.

                  WHEREFORE, Fleetwood seeks entry of a judgment against the Defendants as follows:

                  (i)      on the First Count, awarding damages in the amount to be determined at trial but
                           not less than $44,667; and

                  (ii)     on the Second Count, awarding damages in the amount to be determined at trial
                           but less than $44,667; and

                  (iii)    on the Third Count, awarding damages in the amount to be determined at trial but
                           not less than $249,158.52; and

                  (iv)     on the Fourth Count, awarding reasonably attorney fees in an amount to be
                           determined at trial but, in any event, not less than $50,000; and

                  (v)      on the Fifth Count, awarding actual damages in an amount to be determined at
                           trial but not less than $119,617 and treble damages of an amount not less than
                           $358,851; and

                  (vi)     on the Fifth Count, awarding actual damages in an amount to be determined at
                           trial but not less than $119,617 and treble damages of an amount not less than
                           $358,851; and

                   (vii)   for such other and further relief as the Court shall deem just and proper.

                                                              WHITE AND WILLIAMS LLC
          Dated: March 18, 2020
                 New York, New York
                                                              _____________________________
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